Case 22-12075-amc                   Doc         Filed 09/08/23 Entered 09/08/23 14:19:07                                  Desc Main
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     Fill in this information to identify the case:

     Debtor 1 ERIK D ROCKMORE
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Eastern District of Pennsylvania
     Case number 22-12075-amc




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                 Court claim no. (if known): 4

  Last four digits of any number you           9695                             Date of payment change:                     10/01/2023
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $1,092.93
                                                                                Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 346.88             New escrow payment:          $ 478.11

  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %               New interest rate:                                %

                Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change

     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
            modification agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change:


                Current mortgage payment: $                        New mortgage payment: $




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   Debtor1   ERIK D ROCKMORE                                         Case number (if known) 22-12075-amc
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Andrew Spivack
       Signature
                                                                                    Date 09/08/2023



   Print: Andrew Spivack (84439)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email PABKR@brockandscott.com




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                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                           Philadelphia Division


 IN RE:
 ERIK D ROCKMORE                                                 Case No. 22-12075-amc
                                                                 Chapter 13
 Freedom Mortgage Corporation,
          Movant

 vs.

 ERIK D ROCKMORE ,
         Debtor


                                              CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

BRAD J. SADEK, Debtor's Attorney
1500 JFK Boulevard
Ste 220
Philadelphia, PA 19102
brad@sadeklaw.com

KENNETH E. WEST, Bankruptcy Trustee
1234 Market Street
Suite 1813
Philadelphia, PA 19107

Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street Suite 320
Philadelphia, PA 19107

Via First Class Mail:

ERIK D ROCKMORE
6524 LIMEKILN PIKE
PHILADELPHIA, PA 19138

Date: September 8, 2023
                                                     /s/Andrew Spivack
                                                     Andrew Spivack, PA Bar No. 84439
                                                     Matthew Fissel, PA Bar No. 314567
                                                     Mario Hanyon, PA Bar No. 203993
                                                     Ryan Starks, PA Bar No. 330002
                                                     Jay Jones, PA Bar No. 86657
                                                     Attorney for Creditor
                                                     BROCK & SCOTT, PLLC
                                                     3825 Forrestgate Drive
                                                     Winston Salem, NC 27103
                                                     Telephone: (844) 856-6646
                                                     Facsimile: (704) 369-0760
                                                     E-Mail: PABKR@brockandscott.com
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